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18     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
19                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                              SOUTHERN DIVISION
21      MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and           )
22      CERCACOR LABORATORIES, INC.,          )
        a Delaware corporation                ) PLAINTIFFS’ APPLICATION TO
23                                            ) UNSEAL CERTAIN TRIAL
                 Plaintiffs,                  ) EXHIBITS PURSUANT TO DKT.
24                                            ) 1688
            v.                                )
25                                            )
26      APPLE INC., a California corporation )) Hon. James V. Selna
                 Defendant.                   )
27                                            )
28                         REDACTED VERSION OF DOCUMENT
                          PROPOSED TO BE FILED UNDER SEAL
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1            The Court granted Apple’s application to seal 186 trial exhibits “subject to
2      reconsideration upon application of any interested party….” Dkt. 1688 at 2. Pursuant
3      to that Order, Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (jointly
4      “Masimo”) hereby request that the Court unseal 56 of those trial exhibits.
5                                        I. INTRODUCTION
6            During trial, the Court allowed either party to seal the courtroom upon request.
7      Apple consistently commented before the jury that, as a “courtesy,” it would not object
8      to Masimo sealing the courtroom. But Apple tactically avoided any suggestion that its
9      information was confidential and allowed the vast majority of the documents it
10     produced in discovery to be displayed and discussed publicly. As soon as the jury
11     retired to deliberate, however, Apple took the contradictory position and sought to seal
12     the same exhibits. Apple’s request is unsupported and creates numerous problems.
13           The public’s interest in accessing judicial records is particularly strong because
14     Apple made no effort to avoid public viewing of the information at trial. The press
15     closely followed the trial, attending all open sessions, and published numerous articles
16     about it. Those articles quoted from and discussed the trial, including documents that
17     Apple has now sealed. Moreover, further proceedings in this case will undoubtedly
18     quote from the (currently sealed) exhibits that were discussed and displayed in open
19     court. This would require the parties to seek to seal quotations from the underlying
20     exhibits even though the same or very similar information was presented in open court.
21           Apple also has not shown compelling reasons to seal the exhibits. Apple relies
22     solely on a conclusory declaration that contradicts its arguments in this case that
23     anything revealed in open court is no longer “confidential.” Contrary to Apple’s
24     suggestions, the exhibits also do not reflect technical design information. Instead,
25     Apple largely seeks to seal embarrassing or incriminating information. That is not a
26     sufficient basis to seal trial exhibits, particularly those that were discussed in open court.
27     The Court should unseal at least the exhibits discussed herein.
28     ///

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1                                  II. FACTUAL BACKGROUND
2            The Protective Order explains: “Any use of Protected Material at trial shall be
3      governed by the orders of the trial judge and other applicable authorities” and “[t]his
4      Order does not govern the use of Protected Material at trial.” Dkt. 67 ¶ 5.6. It also
5      provides that it would not apply to information made public during trial. Id. ¶ 6 (“the
6      confidentiality obligations imposed by this Order shall remain in effect until a
7      Designating Party agrees otherwise in writing, a court order otherwise directs, or the
8      information was made public during trial.”).1
9            During trial, the Court accommodated every request to seal the courtroom if
10     either party asserted the information should be sealed. See, e.g., Trial Tr. Apr. 6, Vol. II
11     at 47:11-18 (sealing Diab testimony discussing Masimo trade secrets and confidential
12     technology); Trial Tr. Apr. 13, Vol. II at 39:3-17 (sealing Lamego testimony discussing
13     Apple confidential information). The parties also allowed witnesses to discuss and
14     publish many exhibits on the public record.
15           Apple even misused the sealing process to advance substantive arguments to the
16     jury. For example, Apple repeatedly made a show of arguing nothing was confidential
17     and that it was agreeing to seal the courtroom only out of supposed “respect” or
18     “courtesy” for Masimo’s contentions. See, e.g., Trial Tr., Apr. 7, Vol. I at 102 at 14-
19     17; Trial Tr., Apr. 10, Vol. II at 30:11-14 (“although Apple does not believe the
20     information is in fact trade secret, out of respect for plaintiffs’ contentions, I request
21     that we seal the courtroom.”). Apple continued this inappropriate speech even after this
22     Court admonished Apple to stop: “I think everyone understands your position. Just ask
23     for a closed session.” Trial Tr., Apr. 13, Vol. II at 77:8-22; Trial Tr., Apr. 14, Vol. II at
24     49:5-6; Trial Tr., Apr. 20, Vol. I at 43:13-15.
25           Apple freely allowed its own information to be discussed publicly. See e.g., Trial
26     Tr., Apr. 18, Vol. II at 62:25-93:1. For example, the parties discussed in open Court
27
       1
        Unless noted otherwise, all emphasis in quotations is added. Masimo understands the
28     Court has copies of the trial exhibits (Dkt. 1674) but can provide them upon request.

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1      Apple’s efforts to research Masimo and recruit its employees. See, e.g., Dkt. 1636,
2      Ex. 1 (deposition testimony of Denby Sellers); Trial Tr., Apr. 13, Vol. II at 113-125
3      (testimony of Stephen Hotelling). Apple thereby sought to create an impression to the
4      jury that everything discussed at trial was public and, thus, could not be a trade secret.
5            After the jury retired to deliberate, however, Apple took a completely
6      contradictory position, and sought to seal the very exhibits presented publicly. On
7      April 26, while the jury was deliberating, Apple requested that the Court seal nearly
8      every trial exhibit that Apple produced during discovery. Dkt. 1677 (requesting the
9      court seal 186 exhibits). Of the 186 exhibits that Apple asked the Court to seal 160 of
10     them were discussed in open court. Loebbaka Decl. ¶ 2. Apple supported its request
11     with a conclusory declaration that did not address any exhibit with particularity. For
12     example, Apple’s full and complete argument for sealing over 100 trial exhibits was:
13           The trial exhibits listed below discuss Apple’s confidential information
             regarding product development and proprietary technology—including
14
             internal Apple documents and communications—related to research and
15           development of Apple Watch products. See Snapkeys, Ltd. v. Google LLC,
             2021 WL 1951250, at *2 (N.D. Cal. May 14, 2021) (“[C]ourts have found
16
             compelling reasons to seal information regarding a company’s proprietary
17           technology when the disclosure of that information would result in
             competitive harm.”) (collecting cases).
18
19     Dkt. 1678 ¶ 5. Apple made similar conclusory arguments for seven other groups of
20     exhibits. Id. ¶¶ 6-12. Apple did not disclose to the Court that the vast majority of the
21     exhibits it sought to seal were published and discussed in open court. See id.
22           The Court granted Apple’s Application the next day. Dkt. 1688. The Court
23     explained that its “order is subject to reconsideration upon application of any interested
24     party, including members of the public.” Id. at 2. Masimo now files this application to
25     unseal certain of the trial exhibits, all of which were discussed or published during
26     public sessions of the jury trial.
27     ///
28

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1                                     III. LEGAL STANDARD
2            There is a “strong presumption of access to judicial records” for dispositive
3      proceedings, whether by trial or summary judgment, to ensure “the public’s
4      understanding of the judicial process and of significant public events.” Kamakana v.
5      City and Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (cleaned up). To
6      overcome the presumption of public access in dispositive proceedings, a party must
7      show “compelling reasons” to seal. Id. In general, “compelling reasons” to justify
8      sealing court records include the release of “trade secrets.” Id. (citing Nixon v. Warner
9      Commc’ns, Inc., 435 U.S. 589, 598 (1978)). “The mere fact that the production of
10     records may lead to a litigant’s embarrassment, incrimination, or exposure to further
11     litigation will not, without more, compel the court to seal its records.” Id. (citing Foltz
12     v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1136 (9th Cir. 2003)).
13           Courts deny motions to seal trial exhibits absent compelling reasons to seal the
14     information. True Health Chiropractic Inc. v. McKesson Corp., 2022 WL 1239346, at
15     *3 n. 3 (N.D. Cal. Apr. 27, 2022) (“As these are trial exhibits, they are essential to the
16     public’s ability to understand the resolution of this case, and Defendants articulate no
17     compelling reason to seal sufficient to overcome that strong public interest.”); see also
18     Adams v. United States, 2010 WL 55550, at *2 (D. Idaho Jan. 5, 2010) (sealing trial
19     exhibits that could be trade secrets but denying request to seal an internal email).
20           As the Ninth Circuit explained, “[s]ecrecy is a one-way street: Once information
21     is published, it cannot be made secret again.” In re Copley Press, Inc., 518 F.3d 1022,
22     1025 (9th Cir. 2008). Courts routinely decline to seal information that has already been
23     discussed publicly by fact and expert witnesses. Epic Games, Inc. v. Apple Inc., 2021
24     WL 1907755, at *3 (N.D. Cal. May 12, 2021); In re High-Tech Emp. Antitrust Litig.,
25     2014 WL 12795429, at *2 (N.D. Cal. Mar. 14, 2014) (“the Court denies requests to seal
26     information relating to topics already discussed publicly in filings or at hearings before
27     the Court.”). The Court should do the same here.
28     ///

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1                                         IV. ARGUMENT
2             Apple sealed trial exhibits that do not approach the “compelling reasons”
3      standard. Apple is particularly unable to meet that standard because it freely allowed
4      the exhibits to be discussed and published in open court. Thus, Masimo requests the
5      Court unseal the specific exhibits discussed below.
6      A.     Exhibits Apple Claims Are Directed To Apple Watch Development
7             Apple sealed trial exhibits presented in public sessions that purportedly discuss
8      “Apple’s confidential information regarding product development and proprietary
9      technology—including internal Apple documents and communications—related to
10     research and development of Apple Watch products.” Dkt. 1678 at ¶ 5. As described
11     below, these exhibits do not include confidential information and were publicly
12     discussed at trial.
13            1.     Public Exhibits Discussing Lamego At A High Level
14            Apple sealed multiple exhibits as product development or technical documents
15     that simply discuss how Lamego will contribute to Apple during his employment.
16     Although Apple claims these exhibits discuss proprietary technology, these exhibits
17     discuss no technical details. Below is a description of each exhibit and citations to
18     where it was discussed publicly.
19           JTX-0008: This is an email explaining
20                                                                                        It does
21            not describe any specific technical information. The exhibit was discussed and
22            published in open court. Trial Tr., Apr. 12, Vol. I at 72; Dkt. 1636, Ex. 11 at 3-4;
23            Trial Tr., Apr. 26, Vol. I at 71:21-72:21.
24           JTX-0010 and JTX-0012: These are two emails from the same chain asking
25            Lamego to work with an Apple engineer
26
27                                                                                      but these
28            exhibits do not discuss any specific technical information.           The exhibits

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1                                                     were discussed and published in open
2          court. Trial Tr., Apr. 12, Vol. I at 72; Dkt. 1636, Ex. 11 at 5-6, 8; Trial Tr.,
3          Apr. 26, Vol. I at 71:21-72:21.
4       JTX-0014: This is a text message exchange between Apple engineers about a
5          meeting with Lamego regarding
6                        It mentions                            which Apple repeatedly argued
7          to the jury is not confidential. Trial Tr., Apr. 13, Vol. II at 83:14-85:18. It also
8          mentions Apple’s
9                                 Trial Tr., Apr. 18, Vol. II at 81:1-3. The exhibit discusses
10         no specific technical information and was discussed in open court. Trial Tr.,
11         Apr. 12, Vol. I at 72; Dkt. 1636, Ex. 11 at 8-9.
12      JTX-0015: This email discusses, at a high level, Lamego’s work and future at
13         Apple. It explains
14                                                            It does not describe any specific
15         technical information. Instead, it shows Apple intended to prevent Lamego from
16         having access to Apple’s confidential information because Apple knew he posed
17         a risk of trade secret misappropriation. The exhibit was discussed and published
18         in open court. Trial Tr., Apr. 12, Vol. I at 72; Dkt. 1636, Ex. 11 at 9-13; Trial
19         Tr., Apr. 26, Vol. I at 75:3-17.
20      JTX-0658: This email describes Lamego’s interview and mentions that he had
21                                                                                           It
22         does not describe any specific technical information. The exhibit was discussed
23         and published in open court. Trial Tr., Apr. 11, Vol. I at 17; Dkt. 1636, Ex. 1
24         at 21-22; Trial Tr., Apr. 26, Vol. I at 71:21-72:6. Moreover, Apple’s assertion
25         that Lamego disclosed Apple confidential information during his interview
26         makes no sense. If Lamego disclosed any confidential information during his
27         interview, it would have been Masimo’s confidential information.
28   ///

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1        JTX-4429: This email discusses, at a high level, Lamego’s work at Apple. In it,
2          Apple employees discuss
3                                                           It does not describe any specific
4          technical information. The exhibit was discussed and published in open court.
5          Trial Tr., Apr. 14, Vol. I at 36:11-38:20.
6          Apple claims that disclosing these exhibits could cause Apple competitive harm.
7    Dkt. 1678 at ¶ 5. Apple offers no facts to support that conclusory assertion, which is
8    insufficient to meet Apple’s burden of showing compelling reasons to seal trial exhibits.
9    Kamakana, 447 F.3d at 1179 (a party seeking to seal evidence at trial must articulate
10   “compelling reasons” for doing so).       Moreover, Apple’s conclusory assertion is
11   demonstrably false because Apple made no attempt to seal the court when these exhibits
12   were discussed. If disclosure of this information could cause competitive harm, Apple
13   would have sealed the courtroom. See In re Copley Press, 518 F.3d at 1025 (“Secrecy
14   is a one-way street: Once information is published, it cannot be made secret again.”).
15         Rather than seal truly confidential information, Apple is trying to hide
16   embarrassing information. For example, JTX-0010 and JTX-0012 show that Apple
17   knew it needed outside help because                                            JTX-0015
18   shows Apple knew Lamego was likely to use trade secrets from a former employer, but
19   Apple continued to employ him anyway. JTX-0015 at -009. Such documents may be
20   embarrassing for a company that calls itself “innovative,” but Apple’s embarrassment
21   is not a “compelling reason” to justify sealing trial exhibits. See Kamakana, 447 F.3d
22   at 1179.
23         2.     Public Exhibits Regarding High-Level Technical Information
24         Apple sealed exhibits that discuss Apple technology only at a high level. Below
25   is a description of each exhibit and citations to where it was discussed publicly.
26   JTX-0009: This is an email about how Lamego will contribute at Apple
27                                                                        It does not discuss
28   ///

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1          detailed technical information. The exhibit was discussed in open court. Trial.
2          Tr., Apr. 12, Vol. I at 72; Dkt. 1636, Ex. 11 at 4-5.
3        JTX-0047: This is an email about an invention disclosure
4                      which later issued as two patents that were the subject of Masimo’s
5          correction of inventorship/ownership claims (U.S. Patent Nos. 10,078,052 and
6          10,247,670). The exhibit was discussed and published in open court. Trial Tr.,
7          Apr. 19, Vol. I at 106:20-108:1.
8        JTX-0335 and JTX-0337: These are emails between Apple engineers and
9          executives discussing next steps for developing a physiological sensor for the
10         wrist to be included in a watch.         They discuss problems Apple faced in
11         development, but do not discuss technical solutions in detail. The exhibits were
12         discussed and published in open court. Trial Tr., Apr. 5, Vol. I at 43:24-44:5;
13         Trial Tr., Apr. 11, Vol. I at 18-19; Dkt. 1636, Ex. 3 at 4-5, 7-9; Trial Tr., Apr. 26,
14         Vol. I at 67:18-25.
15       JTX-0356: This is an email acknowledging negative press the Apple Watch
16         received because                                                . It does not discuss
17         detailed technical information, but rather
18                                                            The exhibit was discussed and
19         published in open court. Trial Tr., Apr. 18, Vol. I at 123:11-124:20.
20         Apple cannot justify sealing these publicly disclosed exhibits. See Epic Games,
21   2021 WL 1907755, at *3 (declining to seal information discussed publicly); In re High-
22   Tech Emp., 2014 WL 12795429, at *2 (same). Even if the information had not been
23   published, Apple cannot show compelling reasons to seal brief high-level discussions
24   of technical information. See Vesta Corp. v. Amdocs Mgmt. Ltd., 312 F. Supp. 3d 966,
25   973 (D. Or. 2018) (denying motion to seal where information sought to be sealed was a
26   “high-level and broad discussion” without any “detail or discussion of any architectural
27   diagrams or specific information”); see also MasterObjects, Inc. v. Amazon.com, Inc.,
28   2022 WL 4074653, at *5 (N.D. Cal. Sept. 5, 2022) (denying motion to seal description

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1    of Amazon’s system because party failed to “explain how disclosure of its high-level
2    information could allow a third-party to understand Amazon’s system in enough detail
3    that it would cause Amazon competitive harm.”).
4          Rather than seal technical information, Apple again appears to be seeking to seal
5    embarrassing documents. For example, JTX-0335 and JTX-0356 show that Apple’s
6    engineers were unable to create a reliable product. See JTX-0335
7                                  ; JTX-0337                              JTX-0356
8                                                                                       Such
9    documents are embarrassing to Apple, but that is not a basis to seal them. See
10   Kamakana, 447 F.3d at 1179.
11         3.     Public Exhibits Regarding Apple Investigating Masimo Products
12         Apple sealed exhibits directed to its research about Masimo products. Below is
13   a description of each exhibit and citations to where it was discussed publicly.
14       JTX-0177: This is an email between Apple employees
15
16                         It does not discuss Apple technical information. The exhibit was
17         discussed and published in open court. Trial Tr., Apr. 19, Vol. I at 34:14-35:25.
18       JTX-0245: This is an email discussing
19
20                                                                 It does not discuss Apple
21         technical information. The exhibit was discussed and published in open court.
22         Trial Tr., Apr. 11, Vol. I at 19-20; Dkt. 1636, Ex. 4 at 2-3.
23       JTX-0422: This is an email between Apple employees discussing
24
25
26                    It discusses Apple information only at a high level. The exhibit was
27         discussed and published in open court. Trial Tr., Apr. 11, Vol. I at 25; Dkt. 1636,
28         Ex. 5 at 6-7.

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1        JTX-0423: This is an email discussing
2
3
4          It does not discuss Apple technical information. The exhibit was discussed and
5          published in open court. Trial Tr., Apr. 11, Vol. I at 25; Dkt. 1636, Ex. 5 at 7.
6        JTX-0427: This is an email with Apple engineers about
7                                                     It does not discuss Apple information.
8          The exhibit was discussed and published in open court. Trial Tr., Apr. 11, Vol. I
9          at 25; Dkt. 1636, Ex. 5 at 8-9.
10       JTX-0558: This is an email about                                    It states in full:
11
12                                  It does not discuss Apple information. The exhibit was
13         discussed and published in open court. Trial Tr., Apr. 5, Vol. I at 36:21-24; Trial
14         Tr., Apr. 14, Vol. I at 111:14-112:10.
15         Apple failed to identify compelling reasons that justify sealing these documents.
16   Open Text S.A. v. Box, Inc., 2014 WL 7368594, at *4 (N.D. Cal. Dec. 26, 2014) (party
17   did not show “compelling reasons to seal information derived from third-party market
18   research reports or comparisons of its products to its competitors’”); Allen v. Conagra
19   Foods, Inc., 2020 WL 4673914, at *4 (N.D. Cal. Aug. 12, 2020). The parties openly
20   discussed these exhibits and Apple’s overall efforts to research Masimo and other
21   companies in open court.      Trial Tr., Apr. 13, Vol. II at 113:24-132:23; Trial Tr.,
22   Apr. 14, Vol. I at 47:1-67:8, 82:8-108:1, 109:20-126:17; Trial Tr., Apr. 20, Vol. I
23   at 9:19-29:25. Apple failed to identify any competitive harm from publishing these
24   exhibits, particularly in view of the extensive discussions at trial. See In re Copley
25   Press, 518 F.3d at 1025 (“Secrecy is a one-way street: Once information is published,
26   it cannot be made secret again.”).
27   ///
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1          4.    Public Exhibits Regarding Apple Watch Accuracy
2          Apple sealed exhibits about the accuracy of Apple Watch physiological
3    measurements. Below is a description of each exhibit and citations to where it was
4    discussed publicly.
5        JTX-0358: This is an email attaching a presentation about
6
7
8
9                                                             It identifies possible reasons
10         for the poor performance but does not include technical details of the Apple
11         Watch. The exhibit was discussed and published in open court. Trial Tr., Apr.
12         19, Vol. II at 14:3-16:5 (misstates JTX 358 as “JTX 385”).
13       JTX-0360: This is an email discussing
14                                                                      It also summarizes
15         negative customer feedback about the feature. It does not include technical
16         details of the Apple Watch. The exhibit was discussed and published in open
17         court. Trial Tr., Apr. 19, Vol. II at 16:6-18:4.
18       JTX-0736: This is an email discussing
19                                                                               The email
20         explains that public feedback showed
21                                                            It does not include technical
22         details of the Apple Watch. The exhibit was discussed and published in open
23         court. Trial Tr., Apr. 19, Vol. II at 18:5-19:23; Trial Tr., Apr. 26, Vol. I
24         at 94:14-21.
25         Apple has not shown that competitive harm would result from unsealing these
26   documents that were published in open court. See Epic Games, 2021 WL 1907755, at
27   *3 (declining to seal information discussed publicly); In re High-Tech Emp., 2014 WL
28   12795429, at *2 (same). Rather than sealing information that might cause competitive

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1    harm, Apple again sealed embarrassing information about the inaccuracy of the Apple
2    Watch. See JTX-0358
3                                        JTX-0360
4                                          Apple’s desire to hide embarrassing information is
5    not sufficient to seal these documents from the public. See Kamakana, 447 F.3d at
6    1179. The public interest in access to these documents presented in open court, which
7    show health features of the Apple Watch do not work as advertised, is strong.
8          5.     Public Exhibits Regarding Plans Now Implemented
9          Apple sealed JTX-0400 and JTX-0499, which discuss future plans for features
10   of the Apple Watch that have now been implemented. These exhibits are email chains
11   stemming from ten-year-old Apple email discussing high-level plans to develop
12   wellness features for the Apple Watch. These exhibits do not discuss technical details
13   of the Apple Watch and were repeatedly discussed and published in open court. Trial
14   Tr., Apr. 14, Vol. I at 122:12-125:11; Trial Tr., Apr. 18, Vol. I at 31:5-32:18; Trial Tr.,
15   Apr. 26, Vol. I at 66:22-67:5. Apple has not shown competitive harm would result from
16   unsealing these documents that were discussed in open court. See Vesta, 312 F. Supp.
17   3d at 973 (denying motion where information was a “high-level and broad discussion”
18   without any “detail or discussion of any architectural diagrams or specific
19   information”).
20   B.    Exhibits Apple Claims Relate To Apple’s Business Strategies
21         Apple sealed exhibits that purportedly discuss “Apple’s confidential business
22   strategy   and   decision    making—including       internal   Apple    documents      and
23   communications—related to Apple Watch products and consumer health.” Dkt. 1678
24   at ¶ 6. As described below, these exhibits do not include confidential information and
25   were publicly discussed in open court.
26   ///
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1          1.       Public Exhibits Regarding Discussions About Masimo And Kiani
2          Apple sealed multiple exhibits directed to Apple researching the industry,
3    including Masimo. Below is a description of each exhibit and citations to where it was
4    discussed publicly.
5        JTX-0259, JTX-260, JTX-556, and JTX-4355.01: These are
6
7                                                                                            The
8          exhibits do not include technical information about the Apple Watch. The
9          exhibits were repeatedly discussed and published in open court throughout the
10         trial. Trial Tr., Apr. 5, Vol. I at 35:20-36:2, 38:15-19, 39:14-19; Trial Tr.,
11         Apr. 14, Vol. I at 47:11-50:1, 84:7-95:1, 110:1-111:13, 112:11-114:24; Trial Tr.,
12         Apr. 26, Vol. I at 64:18-65:2 (JTXs-259, 556), 65:3-12 (JTX-260).
13       JTX-0263: This is a
14
15                                                                                        It does
16         not include technical information about the Apple Watch. Like the
17         exhibits discussed above, this             exhibit was repeatedly discussed and
18         published in open court. Trial Tr., Apr. 5, Vol. I at 46:7-12; Trial Tr., Apr. 14,
19         Vol. I at 51:15-57:13; Trial Tr., Apr. 26, Vol. I at 68:22-69:4.
20       JTX-0316 and JTX-0317: These are emails with Adrian Perica, Apple’s Vice
21         President of Corporate Development, discussing a potential acquisition or
22         partnership with Masimo. They do not include technical information about the
23         Apple Watch. The exhibits were repeatedly discussed and published in open
24         court.    Trial Tr., Apr. 5, Vol. I at 42:14-21; Trial Tr., Apr. 14, Vol. I
25         at 103:17-109:1, 121:16-122:11; Trial Tr., Apr. 26, Vol. I at 65:22-67:17.
26       JTX-0320: This is a scheduling email for                            It does not include
27         technical information about the Apple Watch. The exhibit was discussed and
28   ///

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1         published in open court. Trial Tr., Apr. 11, Vol. I at 18; Dkt. 1636, Ex. 2 at 4-5;
2         Trial Tr., Apr. 26, Vol. I at 68:1-21.
3       JTX-0332: This email summarizes a discussion Kiani had with Perica. The email
4         discusses
5                                                  It does not include technical information
6         about the Apple Watch. The exhibit was discussed and published in open court.
7         Trial Tr., Apr. 11, Vol. I at 18-19; Dkt. 1636, Ex. 3 at 3-4; Trial Tr., Apr. 26,
8         Vol. I at 66:17-21.
9       JTX-0344: This is an Apple email discussing
10
11                         It does not include technical information about the Apple Watch.
12        The exhibit was discussed and published in open court. Trial Tr., Apr. 14, Vol. I
13        at 123:17-126:17.
14      JTX-0393: This is an email summarizing an Apple meeting with Kiani and
15        strategizing how to engage with Masimo.            It does not include technical
16        information about the Apple Watch. The exhibit was discussed and published in
17        open court. Trial Tr., Apr. 5, Vol. I at 40:18-22; Trial Tr., Apr. 14, Vol. I
18        at 116:17-118:10.
19      JTX-0395: This is an email strategizing how to interact with Masimo after hiring
20        O’Reilly. It does not include technical information about the Apple Watch. The
21        exhibit was discussed and published in open court. Trial Tr., Apr. 5, Vol. I
22        at 41:16-20; Trial Tr., Apr. 14, Vol. I at 120:4-121:15; Trial Tr., Apr. 26, Vol. I
23        at 65:22-25.
24      JTX-0605, JTX-0636, and JTX-0672: These are emails that discuss Apple
25        hiring Lamego. The first email in the chain is from Lamego to Tim Cook,
26                                                             This Court already authorized
27        publication of that email in Masimo Corp. v. True Wearables, Inc., No. 8-18-cv-
28        02001. It has also been published on the public docket in this case many times.

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1          See, e.g., Dkt. 507-1, Ex. 4; Dkt. 1086-04, Ex. 28. The remainder of the email
2          chain are Apple emails discussing hiring Lamego, including
3                                                                             The emails do not
4          include technical information about the Apple Watch and were discussed and
5          published in open court. Trial Tr., Apr. 5, Vol. I at 46:1-6; Trial Tr., Apr. 11,
6          Vol. I at 16-18; Dkt. 1636, Ex. 1 at 16-20; Trial Tr., Apr. 14, Vol. II at 56:4-58:6;
7          Trial Tr., Apr. 26, Vol. I at 70:5-10.
8          Apple has not attempted to show competitive harm from unsealing these old
9    documents that were discussed in open court. See Stemmelin v. Matterport, Inc., 2022
10   WL 1422567, at *1 (N.D. Cal. May 5, 2022) (denying motion to seal information from
11   many years ago without an explanation of why such information results in competitive
12   harm); Allen, 2020 WL 4673914, at *4. For example, Apple has not articulated why
13   disclosing Apple’s attempts to partner with a third party in 2013 would cause Apple
14   competitive harm today. Indeed, media articles published during the trial referenced
15                                by name and discussed the contents of these exhibits, and
16   Apple never claimed competitive harm from their publication. Exs. E-G. Apple’s desire
17   to hide evidence of its well-known practice of taking technology from others is not
18   enough to seal exhibits. See Kamakana, 447 F.3d at 1179 (“incrimination, or exposure
19   to further litigation” is not a compelling reason to seal records). That is especially true
20   because Apple deliberately allowed these exhibits to be shown and discussed in open
21   court. See In re Copley Press, 518 F.3d at 1025 (“Secrecy is a one-way street: Once
22   information is published, it cannot be made secret again.”).
23         2.     Public Exhibits Regarding Negative Publicity
24         Apple sealed emails discussing negative publicity about the Apple Watch. Below
25   is a description of each exhibit and citations to where it was discussed publicly.
26       JTX-0257: This email discusses
27                                                     It does not include detailed technical
28   ///

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1             information about the Apple Watch. This exhibit was discussed and published
2             in open court. Trial Tr., Apr. 11, Vol. I at 19-20; Dkt. 1636, Ex. 4 at 5-7.
3            JTX-0377: This email discusses
4                                                                  It does not include detailed
5             technical information about the Apple Watch. This exhibit was discussed and
6             published in open court. Trial Tr., Apr. 18, Vol. I at 119:6-123:10.
7             Apple has not shown competitive harm would result from unsealing these
8    exhibits. As with the other exhibits discussed herein, Apple cannot show compelling
9    reasons to seal information that Apple allowed to be discussed and published in open
10   court. See Epic Games, 2021 WL 1907755, at *3 (declining to seal information
11   discussed publicly); In re High-Tech Emp., 2014 WL 12795429, at *2 (same). Nor has
12   Apple attempted to show that discussions about the accuracy of the Apple Watch would
13   cause competitive harm. Apple’s desire to seal embarrassing documents showing that
14   the Apple Watch is inaccurate is not a sufficient basis to seal trial exhibits. See
15   Kamakana, 447 F.3d at 1179.
16            3.    Public Exhibit Regarding FDA Working Groups
17            Apple sealed JTX-0526, which is an email from the FDA
18                                                                                      Working
19   groups are comprised of industry members from multiple companies and are not
20   confidential. Apple is not at risk of competitive harm from a competitor knowing that
21   the FDA
22                                                             And this exhibit was discussed
23   publicly. Trial Tr., Apr. 18, Vol. I at 39:9-40:14. Apple has not shown competitive
24   harm that would result from unsealing this exhibit.
25   C.       Public Exhibits Regarding Apple’s Recruiting Practices
26            Apple sealed exhibits that discuss “Apple’s confidential information regarding
27   hiring and recruitment practices, including for work on Apple Watch products.” Dkt.
28   1678 at ¶ 8. Specifically, Apple sealed multiple documents directed to its efforts to

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1    target and recruit Masimo employees. Below is a description of each exhibit and
2    citations to where it was discussed publicly.
3        JTX-0058 and JTX-0059: These emails discuss recruiting O’Reilly,
4
5                      The exhibits do not discuss technical Apple information. And they
6          were all discussed and published in open court. Trial Tr., Apr. 11, Vol I at 16-18;
7          Dkt. 1636, Ex. 1 at 3-7; Trial Tr., Apr. 26, Vol. I at 65:13-21 (JTX-0058-59).
8        JTX-0064: This two-sentence email discusses recruiting Lamego.
9                                                                                              It
10         does not include any technical information. And it was discussed and published
11         in open court. Trial Tr., Apr. 11, Vol I at 16-18; Dkt. 1636, Ex. 1 at 7-15.
12       JTX-0165 and JTX-0176: These emails discuss recruiting Masimo employees
13         other than O’Reilly and Lamego.              They do not include Apple technical
14         information and were discussed and published in open court. Trial Tr., Apr. 19,
15         Vol. I at 32:8-34:13; Trial Tr., Apr. 26, Vol. I at 70:23-71:4 (JTX-0176); Trial
16         Tr., Apr. 20, Vol. I at 14:23-20:4; Trial Tr., Apr. 26, Vol. I at 71:5-10 (JTX-0165).
17       JTX-0264: This is a short email chain about
18                                                                      It contains no Apple
19         technical information. And it was discussed and published in open court. Trial
20         Tr., Apr. 14, Vol. I at 60:20-62:3.
21       JTX-0265, JTX-0628, JTX-0648, JTX-0653, JTX-0762, and JTX-4419:
22         These emails discuss recruiting Lamego, summarize his interviews at Apple, and
23         discuss offering him a job. They do not include Apple technical information.
24         And, like the other exhibits discussed herein, they were extensively discussed and
25         published in open court. Trial Tr., Apr. 5, Vol. I at 37:9-14, 47:11-16; Trial Tr.,
26         Apr. 11, Vol I at 16-18; Dkt. 1636, Ex. 1 at 15-16 (JTXs-0628, 0648), 20-21
27         (JTX-0628, JTX-0653); Trial Tr., Apr. 13, Vol. II at 127:5-130:24 (JTX-4419);
28   ///

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1          Trial Tr., Apr. 14, Vol. I at 62:4-19 (JTX-0762), 62:20-64:13; Trial Tr., Apr. 26,
2          Vol. I at 65:3-12, 69:21-70:1 (JTX-0265, -0628, -0648)
3        JTX-0392: This is a short email containing Perica’s recommendation to hire
4          O’Reilly. It explains why Perica thought O’Reilly was a good hire and contains
5          no Apple technical information. And it was discussed and published in open
6          court. Trial Tr., Apr. 14, Vol. I at 114:25-116:16.
7        JTX-2070: This email discusses
8                         It contains no Apple information.       And it was discussed and
9          published in open court. Trial Tr., Apr. 20, Vol. I at 12:7-14:22; Trial Tr.,
10         Apr. 26, Vol. I at 69:13-20.
11         Apple has not attempted to show competitive harm from unsealing these
12   documents, which are many years old. See Stemmelin, 2022 WL 1422567, at *1; Allen,
13   2020 WL 4673914, at *4. During and after trial, the media published articles describing
14   Apple’s efforts to target and recruit Masimo’s employees. Exs. A-G. Apple has not
15   attempted to show that it would suffer competitive harm from exhibits that the press has
16   already discussed and quoted from extensively.
17         Moreover, Apple’s cases do not support sealing its recruitment efforts. In Frost
18   v. LG Elecs. Inc., 2017 WL 6044068, at *1 (N.D. Cal. Mar. 27, 2017), the court granted
19   a motion to seal information regarding “hiring and recruiting practices” on a motion for
20   sanctions. But Frost applied the “good cause” standard to seal, not “compelling
21   reasons” standard. Id. Apple also appears to cite Frost v. LG Elecs. Inc., 2017 WL
22   6044067, at *2 (N.D. Cal. Nov. 28, 2017), which found compelling reasons to seal
23   “sensitive and proprietary information regarding LG Defendants’ internal human
24   resources policies and practices.” However, the underlying motion to seal was directed
25   to sealing information related to a complaint, not sealing trial exhibits. Id. at *1. Apple
26   failed to cite authority for sealing its recruitment of Masimo’s employees under the
27   “compelling reasons” standard. That is especially true here where the information is
28   not technical and has been made public at trial.

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1    D.    Public Exhibit Regarding Alleged Personal Information
2          Apple sealed JTX-0246, which purportedly discusses “personal information of
3    individuals.” Dkt. 1678 at ¶ 12. This email is merely
4
5                                                                            The exhibit does
6    not mention personal information, such as a medical condition.
7                                                                 does not divulge “personal
8    information” that provides a “compelling reason” to seal this exhibit. Moreover, JTX-
9    0246 was discussed publicly during trial. Trial Tr., Apr. 11, Vol. I at 19-20; Dkt. 1636,
10   Ex. 4 at 4-5.
11         Apple’s cases fail to support its request to seal. In In re Bofi Holding, Inc. Sec.
12   Litig., 2021 WL 3700749, at *8 (S.D. Cal. July 27, 2021), the court sealed the names
13   and addresses of former employees to prevent the misuse and harassment of the former
14   employees. In Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *2
15   (N.D. Cal. Nov. 1, 2007), the court sealed personal information such as home addresses
16   and financial information that had little to no relevance to material issues in the case.
17   Unlike these cases, JTX-0246 does not contain personal information.
18                                     V. CONCLUSION
19         For at least the foregoing reasons, Apple has not met its burden to show
20   “compelling reasons” to seal trial exhibits that Apple deliberately allowed the parties to
21   discuss and publish in open court. Masimo respectfully requests that the Court unseal
22   the trial exhibits discussed herein and listed in the accompanying Proposed Order.
23   ///
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1                                        Respectfully submitted,
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1                                CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,158 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7                                              KNOBBE, MARTENS, OLSON & BEAR, LLP
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9    Dated: June 1, 2023                       By: /s/ Kendall M. Loebbaka
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